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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

LEAGUE OF UNITED LATIN                           §
AMERICAN CITIZENS, et al.,                       §
                                                 §
                Plaintiffs,                      §
                                                 §
EDDIE BERNICE JOHNSON, et al.,                   §       EP-21-CV-00259-DCG-JES-JVB
                                                                 [Lead Case]
                                                 §
                Plaintiff-Intervenors,           §
                                                                             &
v.                                               §
                                                 §            All Consolidated Cases
GREG ABBOTT, in his official capacity as         §
Governor of the State of Texas, et al.,          §
                                                 §
                Defendants.                      §

             ORDER GRANTING ADMINISTRATIVE STAY OF SUBPOENAS

         The Plaintiffs in these consolidated cases have issued deposition subpoenas to Dade

Phelan (Speaker of the Texas House of Representatives), Margo Cardwell (General Counsel to

the Texas House of Representatives), and Sharon Carter (Parliamentarian of the Texas House of

Representatives) (collectively, the “Movants”). ECF No. 341-1; ECF No. 341-2; ECF No. 341-

3. One of these subpoenas commands the House Parliamentarian to appear for a deposition this

Thursday, June 30, 2022. ECF No. 341-3. The others command the Speaker and General

Counsel to appear for depositions during the week of July 18, 2022. ECF No. 341-1; ECF No.

341-2.

         The Movants ask the Court to quash the deposition subpoenas. ECF No. 341. The Court

anticipates that it may not resolve the Motion before the House Parliamentarian’s scheduled

deposition date.

         The Court therefore GRANTS the Movants an ADMINISTRATIVE STAY of the

depositions that are the subject of the Movants’ Motion. See id. at 1 n.1.

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       The remainder of the “Motion by Texas House Speaker Dade Phelan, General Counsel to

the House Margo Cardwell, and House Parliamentarian Sharon Carter to Quash Deposition

Subpoenas and, Alternatively, Motion for Protective Order” (ECF No. 341) shall REMAIN

PENDING until the Court has had sufficient time to consider and rule upon the Movants’

challenges.

       So ORDERED and SIGNED this 28th day of June 2022.



                                                ____________________________________
                                                DAVID C. GUADERRAMA
                                                UNITED STATES DISTRICT JUDGE

                                        And on behalf of:

 Jerry E. Smith                                             Jeffrey V. Brown
 United States Circuit Judge                   -and-        United States District Judge
 U.S. Court of Appeals, Fifth Circuit                       Southern District of Texas




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